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              6                          UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF WASHINGTON
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              8   In re                                                Chapter 11
              9   EASTERDAY RANCHES, INC., et al.                      Lead Case No. 21-00141-WLH11
                                                                       Jointly Administered
             10                                      Debtors. 1
             11   EASTERDAY RANCHES, INC. and                          Adv. Pro. No. 21-80050 (WLH)
                  EASTERDAY FARMS,
             12
                                     Plaintiffs,
             13   v.                                                    SCHEDULING ORDER

             14   ESTATE OF GALE A. EASTERDAY
                  (DECEASED), KAREN L. EASTERDAY,
             15   CODY A. EASTERDAY, AND DEBBY
                  EASTERDAY
             16                      Defendants.
             17

             18            Upon consideration of each request of the above-captioned Plaintiffs and
             19   Defendants for the court to enter a scheduling order in the above-captioned adversary
             20   proceeding (Adv. Proc. No. 21-80050, the “Adversary Proceeding”),
             21            IT IS HEREBY ORDERED THAT:
             22            1.    The following deadlines shall apply with respect to the Adversary
             23   Proceeding:
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                       The Debtors along with their case numbers are as follows: Easterday Ranches, Inc. (21-
                       00141) and Easterday Farms, a Washington general partnership (21-00176).
             27       SCHEDULING ORDER – Page 1
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              1         a.     December 8, 2021: Plaintiff’s deadline to file an amended complaint (the
              2                “Amended Complaint”) and/or answer to the counterclaims asserted by the
              3                Defendants [Adv. Proc. Docket Nos. 14 and 15].
              4         b.     December 22, 2021:       Defendants’ deadline to answer the Amended
              5                Complaint.
              6         c.     January 7, 2022: Close of written discovery. Written responses to
              7                Interrogatories, Requests for Admissions, and Requests for Production
              8                shall be due no later than 14 days from service thereof. All such documents
              9                and responses may be served by electronic mail.
             10         d.     February 4, 2022: Deadline to complete document production.
             11         e.     February 25, 2022: Close of fact depositions.
             12         f.     March 4, 2022: Deadline to identify testifying experts.
             13         g.     March 18, 2022: Reports of testifying experts must be served.
             14         h.     April 8, 2022: Close of expert depositions.
             15         i.     7 days before Final Hearing: Pre-trial briefing must be filed and served.
             16         j.     3 days before Final Hearing: Declarations with direct testimony of fact
             17                and expert witnesses must be filed and served.
             18         k.     April 18, 2022 at 9:30 a.m. (Pacific Time): In person trial begins and
             19                continues day to day until complete (the “Final Hearing”).
             20         2.     The parties may modify the discovery deadlines set forth herein by the
             21   agreement of the Plaintiffs and Defendants without further court approval.
             22         3.     The court shall retain exclusive jurisdiction with respect to all matters
             23   arising from or related to the implementation of this order.
             24

             25                                   /// END OF ORDER ///
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             27    SCHEDULING ORDER – Page 2
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              1   Presented by:
              2   /s/ Thomas A. Buford, III
                  THOMAS A. BUFORD, III (WSBA 52969)
              3
                  BUSH KORNFELD LLP
              4
                  RICHARD M. PACHULSKI (admitted pro hac vice)
              5   JEFFREY W. DULBERG (admitted pro hac vice)
                  MAXIM B. LITVAK (admitted pro hac vice)
              6   PACHULSKI STANG ZIEHL & JONES LLP
              7   Attorneys for Plaintiffs
              8

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